                Case 08-03669                  Doc 1
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(Official Form 1) (12/03)            Document     Page 1 of 35
  FORM B1                United States Bankruptcy Court
                Northern                                                  Voluntary Petition
         ______________________District               Illinois
                                         of___________________________
 Name of Debtor (if individual, enter Last, First, Middle):                                   Name of Joint Debtor (Spouse) (Last, First, Middle):
                               Wiejak, Teresa
 All Other Names used by the Debtor in the last 6 years                                       All Other Names used by the Joint Debtor in the last 6 years
 (include married, maiden, and trade names):                                                  (include married, maiden, and trade names):


Last four digits of Soc.Sec.No./Complete EIN or other Tax I.D. No.                            Last four digits of Soc.Sec.No./Complete EIN or other Tax I.D. No.
 (if more than one, state all): 0879                                                          (if more than one, state all):
 Street Address of Debtor (No. & Street, City, State & Zip Code):                             Street Address of Joint Debtor (No. & Street, City, State & Zip Code):
 5336 W. Dakin St.
 Chicago IL 60641

 County of Residence or of the                                                                County of Residence or of the
 Principal Place of Business:                                 Cook                            Principal Place of Business:
 Mailing Address of Debtor (if different from street address):                                Mailing Address of Joint Debtor (if different from street address):
 5336 W. Dakin St.
 Chicago IL 60641

 Location of Principal Assets of Business Debtor
 (if different from street address above):


                               Information Regarding the Debtor (Check the Applicable Boxes)
 Venue (Check any applicable box)
 ✔ Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
    preceding the date of this petition or for a longer part of such 180 days than in any other District.
    There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
             Type of Debtor (Check all boxes that apply)
                                                                                                    Chapter or Section of Bankruptcy Code Under Which
 ✔ Individual(s)                           Railroad                                                         the Petition is Filed (Check one box)
      Corporation                          Stockbroker
                                                                                                ✔    Chapter 7                 Chapter 11            Chapter 13
      Partnership                          Commodity Broker
                                                                                                     Chapter 9                 Chapter 12
      Other                                Clearing Bank
                                                                                                     Sec. 304 - Case ancillary to foreign proceeding
             Nature of Debts (Check one box)
 ✔ Consumer/Non-Business              Business                                                                         Filing Fee (Check one box)
                                                                                               ✔ Full Filing Fee attached
          Chapter 11 Small Business (Check all boxes that apply)                                    Filing Fee to be paid in installments (Applicable to individuals only)
          Debtor is a small business as defined in 11 U.S.C. § 101                                  Must attach signed application for the court's consideration
          Debtor is and elects to be considered a small business under                              certifying that the debtor is unable to pay fee except in installments.
          11 U.S.C. § 1121(e) (Optional)                                                            Rule 1006(b). See Official Form No. 3.

 Statistical/Administrative Information (Estimates only)                                                                                      THIS SPACE IS FOR COURT USE ONLY

     Debtor estimates that funds will be available for distribution to unsecured creditors.
  ✔   Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will
      be no funds available for distribution to unsecured creditors.
                                              1-15         16-49      50-99         100-199         200-999       1000-over
 Estimated Number of Creditors
                                              ✔
 Estimated Assets
   $0 to         $50,001 to     $100,001 to          $500,001 to    $1,000,001 to      $10,000,001 to         $50,000,001 to    More than
  $50,000         $100,000       $500,000             $1 million     $10 million        $50 million            $100 million    $100 million
      ✔
  Estimated Debts
   $0 to          $50,001 to    $100,001 to           $500,001 to   $1,000,001 to       $10,000,001 to        $50,000,001 to    More than
  $50,000          $100,000      $500,000              $1 million    $10 million         $50 million           $100 million    $100 million
      ✔
           Case
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               1) (12/03)                Doc 1        Filed 02/18/08 Entered 02/18/08 15:45:59                              Desc Main
                                                        Document     Page 2 of 35                                                    FORM B1, Page 2
Voluntary Petition                                                            Name of Debtor(s):
 (This page must be completed and filed in every case)                                          Wiejak
                Prior Bankruptcy Case Filed Within Last 6 Years (If more than one, attach additional sheet)
Location                                                                      Case Number:                         Date Filed:
Where Filed:
     Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                               Case Number:                         Date Filed:

District:                                                                     Relationship:                        Judge:


                                                                Signatures
            Signature(s) of Debtor(s) (Individual/Joint)                                                   Exhibit A
I declare under penalty of perjury that the information provided in this            (To be completed if debtor is required to file periodic reports
petition is true and correct.                                                        (e.g., forms 10K and 10Q) with the Securities and Exchange
[If petitioner is an individual whose debts are primarily consumer debts            Commission pursuant to Section 13 or 15(d) of the Securities
and has chosen to file under chapter 7] I am aware that I may proceed              Exchange Act of 1934 and is requesting relief under chapter 11)
under chapter 7, 11, 12 or 13 of title 11, United States Code, understand            Exhibit A is attached and made a part of this petition.
the relief available under each such chapter, and choose to proceed
under chapter 7.                                                                                         Exhibit B
I request relief in accordance with the chapter of title 11, United States                 (To be completed if debtor is an individual
Code, specified in this petition.                                                          whose debts are primarily consumer debts)
                                                                              I, the attorney for the petitioner named in the foregoing petition, declare
 :                                                                            that I have informed the petitioner that [he or she] may proceed under
                                                                              chapter 7, 11, 12, or 13 of title 11, United States Code, and have
     Signature of Debtor                                                      explained the relief available under each such chapter.

 :                                                                             :
     Signature of Joint Debtor                                                      Signature of Attorney for Debtor(s)              Date

                                                                                                           Exhibit C
     Telephone Number (If not represented by attorney)                          Does the debtor own or have possession of any property that
                                                                                poses a threat of imminent and identifiable harm to public health or
     Date                                                                       safety?
                      Signature of Attorney                                         Yes, and Exhibit C is attached and made a part of this petition.
 :                                                                                  No
     Signature of Attorney for Debtor(s)                                                Signature of Non-Attorney Petition Preparer
                                                                              I certify that I am a bankruptcy petition preparer as defined in 11U.S.C.
     Printed Name of Attorney for Debtor(s)
                                                                              § 110, that I prepared this document for compensation, and that I have
                                                                              provided the debtor with a copy of this document.
     Firm Name
                                                                                    Printed Name of Bankruptcy Petition Preparer
     Address
                                                                                   Social Security Number

     Telephone Number
                                                                                    Address
      Date
                                                                                    Names and Social Security numbers of all other individuals who
      Signature of Debtor (Corporation/Partnership)                                 prepared or assisted in preparing this document:
 I declare under penalty of perjury that the information provided in
 this petition is true and correct, and that I have been authorized to file         If more than one person prepared this document, attach
 this petition on behalf of the debtor.                                             additional sheets conforming to the appropriate official form for
 The debtor requests relief in accordance with the chapter of title 11,             each person.
 United States Code, specified in this petition.
:
     Signature of Authorized Individual                                        :
                                                                                   Signature of Bankruptcy Petition Preparer
     Printed Name of Authorized Individual
                                                                                   Date
     Title of Authorized Individual                                            A bankruptcy petition preparer’s failure to comply with the provisions
                                                                               of title 11 and the Federal Rules of Bankruptcy Procedure may result
     Date                                                                      in fines or imprisonment or both 11 U.S.C. §110; 18 U.S.C. §156.
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FORM B6-Cont.
(6/90)

                               UNITED STATES BANKRUPTCY COURT
                                            Northern
                                       __________________District           Illinois
                                                                  of ____________________

                       Wiejak, Teresa
In re ________________________________________________,                                                Case No. _____________________________
                 Debtor                                                                                                 (If known)



                                                  SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F,
I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts
from Schedules D, E, and F to determine the total amount of the debtor’s liabilities.

                                                                                                       AMOUNTS SCHEDULED
                                                ATTACHED
 NAME OF SCHEDULE                                (YES/NO)      NO. OF SHEETS            ASSETS                 LIABILITIES         OTHER

 A - Real Property
                                                    Yes                1           $   0.00
 B - Personal Property
                                                    Yes                1           $
                                                                                       7112.00
 C - Property Claimed
     as Exempt
                                                YES                   1
 D - Creditors Holding
     Secured Claims
                                                    Yes                1                                   $ 0.00

 E - Creditors Holding Unsecured
     Priority Claims                                Yes               1                                             0.00
                                                                                                           $

 F - Creditors Holding Unsecured
     Nonpriority Claims                             Yes               1
                                                                                                           $    50230.19
 G - Executory Contracts and
     Unexpired Leases                               Yes               1

 H - Codebtors
                                                    Yes               1
 I - Current Income of
     Individual Debtor(s)                           Yes                1
                                                                                                                              $     663.00
 J - Current Expenditures of
     Individual Debtor(s)                           YEs               1                                                       $     675.00
                                   Total Number of Sheets
                                    of ALL Schedules '
                                                                      9

                                                              Total Assets '
                                                                                   $    7112.00
                                                                                  Total Liabilities'
                                                                                                           $    50230.19
FORM B6A      Case 08-03669               Doc 1        Filed 02/18/08 Entered 02/18/08 15:45:59                               Desc Main
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                            Wiejak, Teresa
In re _____________________________________________,                                                    Case No. ______________________________
                 Debtor                                                                                                  (If known)


                                             SCHEDULE A - REAL PROPERTY
    Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a co-
tenant , community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor’s own benefit. If the debtor is married, state whether husband, wife, or both own the property by placing an “H,” “W,” “J,” or “C” in the
column labeled “Husband, Wife, Joint, or Community.” If the debtor holds no interest in real property, write “None” under “Description and Location
of Property.”

   Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.

    If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims
to hold a secured interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

   If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property
Claimed as Exempt.

                                                                                                      CURRENT
                                                                                                   MARKET VALUE
                                                                                                     OF DEBTOR’S
             DESCRIPTION AND                                                                         INTEREST IN                      AMOUNT OF
               LOCATION OF                           NATURE OF DEBTOR’S                          PROPERTY, WITHOUT                     SECURED
                PROPERTY                            INTEREST IN PROPERTY                           DEDUCTING ANY                        CLAIM
                                                                                                   SECURED CLAIM
                                                                                                    OR EXEMPTION




 No Real Property




                                                                                 Total'
                                                                                 (Report also on Summary of Schedules.)
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                        Wiejak, Teresa
In re _______________________________________________,                                                   Case No. _________________________
                 Debtor                                                                                                   (If known)
                                           SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an “x” in the appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, or both own the property by
placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an individual or a joint petition is filed,
state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

   Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.

If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.”




                                                                                                                                  CURRENT
                                                                                                                              MARKET VALUE OF
                                            N                                                                                DEBTOR’S INTEREST
       TYPE OF PROPERTY                     O                  DESCRIPTION AND LOCATION                                      IN PROPERTY, WITH-
                                            N                        OF PROPERTY                                             OUT DEDUCTING ANY
                                            E                                                                                  SECURED CLAIM
                                                                                                                                OR EXEMPTION


 1. Cash on hand.                                                        Savings Account                                                112

 2. Checking, savings or other finan-
 cial accounts, certificates of deposit,
 or shares in banks, savings and loan,       x
 thrift, building and loan, and home-
 stead associations, or credit unions,
 brokerage houses, or cooperatives.

 3. Security deposits with public util-      x
 ities, telephone companies, land-
 lords, and others.

 4. Household goods and furnishings,
 including audio, video, and computer        x
 equipment.

 5. Books; pictures and other art
 objects; antiques; stamp, coin,
 record, tape, compact disc, and other       x
 collections or collectibles.

 6. Wearing apparel.                                 Clothes and Personal Effects                                         2000
 7. Furs and jewelry.                        x
 8. Firearms and sports, photo-
 graphic, and other hobby equipment.
                                             x

 9. Interests in insurance policies.
 Name insurance company of each              x
 policy and itemize surrender or
 refund value of each.

 10. Annuities. Itemize and name
 each issuer.                                x
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                                Wiejak, Teresa
In re ______________________________________________,                                Case No. _________________________
                 Debtor                                                                               (If known)


                                            SCHEDULE B - PERSONAL PROPERTY
                                                          (Continuation Sheet)


                                                                                                         CURRENT
                                                                                                     MARKET VALUE OF
                                                 N                                                  DEBTOR’S INTEREST
       TYPE OF PROPERTY                          O        DESCRIPTION AND LOCATION                  IN PROPERTY, WITH-
                                                 N              OF PROPERTY                         OUT DEDUCTING ANY
                                                 E                                                    SECURED CLAIM
                                                                                                       OR EXEMPTION


 11. Interests in IRA, ERISA, Keogh,             x
 or other pension or profit sharing
 plans. Itemize.

 12. Stock and interests in incorpo-
 rated and unincorporated businesses.            x
 Itemize.

 13. Interests in partnerships or joint
 ventures. Itemize.                              x

 14. Government and corporate bonds
 and other negotiable and non-                   x
 negotiable instruments.

 15. Accounts receivable.                        x
 16. Alimony, maintenance, support,
 and property settlements to which the           x
 debtor is or may be entitled. Give
 particulars.

 17. Other liquidated debts owing
 debtor including tax refunds. Give              x
 particulars.

 18. Equitable or future interests, life
 estates, and rights or powers exercis-          x
 able for the benefit of the debtor other
 than those listed in Schedule of Real
 Property.

 19. Contingent and noncontingent
 interests in estate of a decedent, death        x
 benefit plan, life insurance policy, or
 trust.

 20. Other contingent and unliqui-
 dated claims of every nature,
 including tax refunds, counterclaims
                                                 x
 of the debtor, and rights to setoff
 claims. Give estimated value of each.

 21. Patents, copyrights, and other
 intellectual property. Give                     x
 particulars.

 22. Licenses, franchises, and other
 general intangibles. Give particulars.          x
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                         Wiejak, Teresa
In re _________________________________________________,                                       Case No. _________________________
                 Debtor                                                                                         (If known)


                                           SCHEDULE B -PERSONAL PROPERTY
                                                              (Continuation Sheet)


                                                                                                                        CURRENT
                                                                                                                    MARKET VALUE OF
                                            N                                                                      DEBTOR’S INTEREST
        TYPE OF PROPERTY                    O                 DESCRIPTION AND LOCATION                             IN PROPERTY, WITH-
                                            N                       OF PROPERTY                                    OUT DEDUCTING ANY
                                            E                                                                        SECURED CLAIM
                                                                                                                      OR EXEMPTION

 23. Automobiles, trucks, trailers,
                                                    Mercury Villager 1999                                                      5000
 and other vehicles and accessories.


 24. Boats, motors, and accessories.         x

 25. Aircraft and accessories.
                                             x
 26. Office equipment, furnishings,
 and supplies.                              x


 27. Machinery, fixtures, equipment,
 and supplies used in business.              x


 28. Inventory.
                                             x

 29. Animals.                                x


 30. Crops - growing or harvested.
 Give particulars.                           x


 31. Farming equipment and
 implements.                                 x


 32. Farm supplies, chemicals, and feed.    x

 33. Other personal property of any
 kind not already listed. Itemize.           x

                                                      __________continuation sheets attached   Total'          $ 7112.00
                                                                                                        (Include amounts from any continuation
                                                                                                        sheets attached. Report total also on
                                                                                                        Summary of Schedules.)
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                            Wiejak, Teresa
In re ____________________________________________,                                                      Case No. _________________________
                 Debtor                                                                                                   (If known)


                           SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
Debtor elects the exemptions to which debtor is entitled under:
(Check one box)
G
✔  11 U.S.C. § 522(b)(1): Exemptions provided in 11 U.S.C. § 522(d). Note: These exemptions are available only in certain states.
G 11 U.S.C. § 522(b)(2): Exemptions available under applicable nonbankruptcy federal laws, state or local law where the debtor’s domicile has been
                           located for the 180 days immediately preceding the filing of the petition, or for a longer portion of the 180-day period than
                           in any other place, and the debtor’s interest as a tenant by the entirety or joint tenant to the extent the interest is exempt from
                           process under applicable nonbankruptcy law.


                                                                                                                            CURRENT MARKET
                                                  SPECIFY LAW                              VALUE OF                        VALUE OF PROPERTY
  DESCRIPTION OF PROPERTY                       PROVIDING EACH                             CLAIMED                         WITHOUT DEDUCTING
                                                   EXEMPTION                              EXEMPTION                            EXEMPTION


 All property listed in Sched. B


                                                                                                                                      7000
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                     Wiejak, Teresa
In re _______________________________________________,                                                                     Case No. _________________________________
                               Debtor                                                                                                             (If known)


                    SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
           State the name, mailing address, including zip code and last four digits of any account number of all entities holding claims secured by property
of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and
the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments,
statutory liens, mortgages, deeds of trust, and other security interests. List creditors in alphabetical order to the extent practicable. If all secured creditors
will not fit on this page, use the continuation sheet provided.
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity
on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the
marital community may be liable on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”
           If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled
“Unliquidated.” If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three
columns.)
           Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also
on the Summary of Schedules.
           G          Check this box if debtor has no creditors holding secured claims to report on this Schedule D.

         CREDITOR’S NAME,                                              DATE CLAIM WAS INCURRED,                                                AMOUNT




                                                                                                                   UNLIQUIDATED
                                                                                                      CONTINGENT
                                          CODEBTOR




                                                                                                                                  DISPUTED
                                                     HUSBAND, WIFE,




         MAILING ADDRESS                                                  NATURE OF LIEN, AND                                                     OF
                                                     COMMUNITY




       INCLUDING ZIP CODE,                                              DESCRIPTION AND MARKET                                                  CLAIM          UNSECURED
      AND ACCOUNT NUMBER                                                  VALUE OF PROPERTY                                                    WITHOUT          PORTION,
                                                     JOINT, OR




        (See instructions above.)                                           SUBJECT TO LIEN                                                   DEDUCTING          IF ANY
                                                                                                                                               VALUE OF
                                                                                                                                             COLLATERAL


 ACCOUNT NO.                                                          Car Lien
                                                                      Car Value: 5000
 Harris Trust & Savings Bank                                          Subject to Lien: 2700
 111 W. Monroe                                                        Monthly payment: 200
 PO 755
 Chicago IL 60690                                                     VALUE $
                                                                                5000

 ACCOUNT NO.




                                                                      VALUE $

 ACCOUNT NO.




                                                                      VALUE $

 ACCOUNT NO.




                                                                      VALUE $


 _______continuation sheets attached                                                                  Subtotal'        $
                                                                                             (Total of this page)
                                                                                                          Total'       $
                                                                                          (Use only on last page)
                                                                                                   (Report total also on Summary of Schedules)
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                               Wiejak, Teresa
In re __________________________________________________,                                                  Case No. _________________________________
                                Debtor                                                                                                      (If known)


                    SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                    (Continuation Sheet)


                                                                                                                         AMOUNT
        CREDITOR’S NAME AND                                 DATE CLAIM WAS INCURRED,                                        OF
          MAILING ADDRESS                                      NATURE OF LIEN, AND                                        CLAIM                 UNSECURED
         INCLUDING ZIP CODE                                  DESCRIPTION AND MARKET                                      WITHOUT                 PORTION,
                                                               VALUE OF PROPERTY                                        DEDUCTING                 IF ANY
                                                                 SUBJECT TO LIEN                                         VALUE OF
                                                                                                                       COLLATERAL

 ACCOUNT NO.




                                                           VALUE $

 ACCOUNT NO.




                                                           VALUE $

 ACCOUNT NO.




                                                           VALUE $

 ACCOUNT NO.




                                                           VALUE $

 ACCOUNT NO.




                                                           VALUE $

Sheet no. ___ of ___continuation sheets attached to Schedule of Creditors Holding Secured Claims Subtotal' $
                                                                                                (Total of this page)
                                                                                                            Total' $
                                                                                            (Use only on last page)
                                                                                                  (Report total also on Summary of Schedules)
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           In re              Wiejak, Teresa                     ,                                  Case No.
                                        Debtor                                                                          (if known)




           SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS


    A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing
address, including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the
property of the debtor, as of the date of the filing of the petition. The complete account number of any account the debtor has with the creditor is
useful to the trustee and the creditor and may be provided if the debtor chooses to do so.

    If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the
entity on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether husband, wife, both
of them or the marital community may be liable on each claim by placing an "H,""W,""J," or "C" in the column labeled "Husband, Wife, Joint, or
Community."

    If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled
"Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of
these three columns.)

   Report the total of claims listed on each sheet in the box labeled "Subtotal" on each sheet. Report the total of all claims listed on this
Schedule E in the box labeled "Total" on the last sheet of the completed schedule. Repeat this total also on the Summary of Schedules.

✔    Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.




TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)

    Extensions of credit in an involuntary case

  Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of
the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(2).

    Wages, salaries, and commissions

  Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
independent sales representatives up to $4,650* per person earned within 90 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(3).

    Contributions to employee benefit plans

  Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

    Certain farmers and fishermen

  Claims of certain farmers and fishermen, up to $4,650* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(5).

    Deposits by individuals

  Claims of individuals up to $2,100* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
that were not delivered or provided. 11 U.S.C. § 507(a)(6).
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  In re              Wiejak, Teresa                         ,              Case No.
            Debtor                             (if known)




    Alimony, Maintenance, or Support

  Claims of a spouse, former spouse, or child of the debtor for alimony, maintenance, or support, to the extent provided in 11 U.S.C. § 507(a)(7).

    Taxes and Certain Other Debts Owed to Governmental Units

  Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

    Commitments to Maintain the Capital of an Insured Depository Institution

 Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11
U.S.C. § 507 (a)(9).



* Amounts are subject to adjustment on April 1, 2007, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.




                                                         ____ continuation sheets attached
FORM B6E - Cont.   Case 08-03669                  Doc 1     Filed 02/18/08 Entered 02/18/08 15:45:59                                        Desc Main
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                               Wiejak, Teresa
In re __________________________________________,                                                                Case No. _________________________________
                                         Debtor                                                                                                      (If known)


      SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                      (Continuation Sheet)

                                                                                                             ____________________________________
                                                                                                                       TYPE OF PRIORITY




         CREDITOR’S NAME AND                                          DATE CLAIM WAS
           MAILING ADDRESS                                             INCURRED AND                                               TOTAL                    AMOUNT
          INCLUDING ZIP CODE                                          CONSIDERATION                                              AMOUNT                    ENTITLED
         AND ACCOUNT NUMBER                                              FOR CLAIM                                               OF CLAIM                     TO
                   (See instructions.)                                                                                                                     PRIORITY



 ACCOUNT NO.




 ACCOUNT NO.




 ACCOUNT NO.




 ACCOUNT NO.




 ACCOUNT NO.




Sheet no. ___ of ___ sheets attached to Schedule of Creditors                                                     Subtotal' $
Holding Priority Claims                                                                                  (Total of this page)
                                                                                                                  Total'        $
                                                                (Use only on last page of the completed Schedule E.)
                                                                      (Report total also on Summary of Schedules) (Report total also on Summary of Schedules)
Form B6F (12/03)   Case 08-03669                Doc 1                   Filed 02/18/08 Entered 02/18/08 15:45:59                                              Desc Main
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                    Wiejak, Teresa
In re __________________________________________,                                                   Case No. _________________________________
                                 Debtor                                                                                                                  (If known)


         SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
    State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against
the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
useful to the trustee and the creditor and may be provided if the debtor chooses to do so. Do not include claims listed in Schedules D and E. If all creditors will
not fit on this page, use the continuation sheet provided.

   If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the
appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the marital
community maybe liable on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”

     If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.”
If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)

    Report total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary
of Schedules.

    G Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                                                                                             UNLIQUIDATED
                                                                                                                CONTINGENT
                                            CODEBTOR




                                                                                                                                            DISPUTED
                                                       HUSBAND, WIFE,




            CREDITOR’S NAME,                                              DATE CLAIM WAS INCURRED AND                                                                 AMOUNT
                                                       COMMUNITY




            MAILING ADDRESS                                                 CONSIDERATION FOR CLAIM.                                                                    OF
                                                       JOINT, OR




          INCLUDING ZIP CODE,                                             IF CLAIM IS SUBJECT TO SETOFF,                                                               CLAIM
         AND ACCOUNT NUMBER                                                          SO STATE.
           (See instructions above.)




   ACCOUNT NO. 5491070008433714

   HSBC Credit Service
                                                                                                                ✔
   PO Box 10951
   Baltimore MD 21297-1051                                                                                                                                   4830.56
   ACCOUNT NO. 4266841028193165

   Chase Visa Card Member Service
   PO Box 15153                                                                                                 ✔                                                  4601.24
   Wilmington DE 19886-5153



   ACCOUNT NO.

   4266880065748432
   Chase Visa Card Member Service                                                                               ✔
   PO Box 15153
   Wilmington DE 19886-5153
                                                                                                                                                                  3669.31

   ACCOUNT NO. 4366111029018996

   Chase Visa Card Member Service
   PO Box 15153                                                                                                 ✔                                                  1063.53
   Wilmington DE 19886-5153



                                               _____continuation sheets attached                           Subtotal '                         $        14164.64
                                                                                                           Total '                            $        50230.19
                                                                                  (Report also on Summary of Schedules)
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In re __________________________________________,                                                       Case No. _________________________________
                                         Debtor                                                                                            (If known)


      SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                               (Continuation Sheet)


         CREDITOR’S NAME AND                                  DATE CLAIM WAS INCURRED,
           MAILING ADDRESS                                  AND CONSIDERATION FOR CLAIM.                                                AMOUNT
          INCLUDING ZIP CODE                                    IF CLAIM IS SUBJECT TO                                                    OF
          AND ACCOUNT NUMBER                                       SETOFF, SO STATE.                                                     CLAIM
                   (See instructions.)




 ACCOUNT NO.                 7091176788

   Advocate Illinois Masonic Medical                                                                        x                           31065.55
   Center
   836 W. Wellington Ave
   Chicago IL 60657


 ACCOUNT NO.


   Harris Trust & Savings Bank                                                                              x                            5000.00
   111 W. Monroe
   PO 755
   Chicago IL 60690
 ACCOUNT NO.




 ACCOUNT NO.




 ACCOUNT NO.




Sheet no. ___ of ___sheets attached to Schedule of                                                                 Subtotal '        $ 36065.55
Creditors Holding Unsecured Nonpriority Claims                                                          (Total of this page)
                                                                                                                       Total '       $ 50230.19
                                                                  (Use only on last page of the completed Schedule E.)
                                                                      (Report total also on Summary of Schedules)      (Report total also on Summary of Schedules)
FORM B6F - Cont.   Case 08-03669                   Doc 1   Filed 02/18/08 Entered 02/18/08 15:45:59                                 Desc Main
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                               Wiejak, Teresa
In re __________________________________________,                                                        Case No. _________________________________
                                          Debtor                                                                                             (If known)


      SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                (Continuation Sheet)


         CREDITOR’S NAME AND                                   DATE CLAIM WAS INCURRED,
           MAILING ADDRESS                                   AND CONSIDERATION FOR CLAIM.                                                AMOUNT
          INCLUDING ZIP CODE                                     IF CLAIM IS SUBJECT TO                                                    OF
          AND ACCOUNT NUMBER                                        SETOFF, SO STATE.                                                     CLAIM
                    (See instructions.)




 ACCOUNT NO.




 ACCOUNT NO.




 ACCOUNT NO.




 ACCOUNT NO.




 ACCOUNT NO.




Sheet no. ___ of ___sheets attached to Schedule of                                                                   Subtotal '        $
Creditors Holding Unsecured Nonpriority Claims                                                            (Total of this page)
                                                                                                                         Total '       $
                                                                   (Use only on last page of the completed Schedule E.)
                                                                    (Report total also on Summary of Schedules)          (Report total also on Summary of Schedules)
FORM B6F - Cont.   Case 08-03669                  Doc 1   Filed 02/18/08 Entered 02/18/08 15:45:59                                  Desc Main
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                                Wiejak, Teresa
In re __________________________________________,                                                       Case No. _________________________________
                                         Debtor                                                                                              (If known)


      SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                               (Continuation Sheet)


         CREDITOR’S NAME AND                                  DATE CLAIM WAS INCURRED,
           MAILING ADDRESS                                  AND CONSIDERATION FOR CLAIM.                                                 AMOUNT
          INCLUDING ZIP CODE                                    IF CLAIM IS SUBJECT TO                                                     OF
         AND ACCOUNT NUMBER                                        SETOFF, SO STATE.                                                      CLAIM
                   (See instructions.)




 ACCOUNT NO.




 ACCOUNT NO.




 ACCOUNT NO.




 ACCOUNT NO.




 ACCOUNT NO.




Sheet no. ___ of ___sheets attached to Schedule of                                                                   Subtotal '        $
Creditors Holding Unsecured Nonpriority Claims                                                            (Total of this page)
                                                                                                                         Total '       $
                                                                  (Use only on last page of the completed Schedule E.)
                                                                   (Report total also on Summary of Schedules)           (Report total also on Summary of Schedules)
FORM B6F - Cont.   Case 08-03669                  Doc 1   Filed 02/18/08 Entered 02/18/08 15:45:59                                  Desc Main
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                               Wiejak, Teresa
In re __________________________________________,                                                       Case No. _________________________________
                                         Debtor                                                                                              (If known)


      SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                               (Continuation Sheet)


         CREDITOR’S NAME AND                                  DATE CLAIM WAS INCURRED,
           MAILING ADDRESS                                  AND CONSIDERATION FOR CLAIM.                                                 AMOUNT
          INCLUDING ZIP CODE                                    IF CLAIM IS SUBJECT TO                                                     OF
          AND ACCOUNT NUMBER                                       SETOFF, SO STATE.                                                      CLAIM
                   (See instructions.)




 ACCOUNT NO.




 ACCOUNT NO.




 ACCOUNT NO.




 ACCOUNT NO.




 ACCOUNT NO.




Sheet no. ___ of ___sheets attached to Schedule of                                                                   Subtotal '        $
Creditors Holding Unsecured Nonpriority Claims                                                            (Total of this page)
                                                                                                                         Total '       $
                                                                  (Use only on last page of the completed Schedule E.)
                                                                  (Report total also on Summary of Schedules)            (Report total also on Summary of Schedules)
FORM B6F - Cont.   Case 08-03669                  Doc 1   Filed 02/18/08 Entered 02/18/08 15:45:59                                  Desc Main
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                                Wiejak, Teresa
In re __________________________________________,                                                       Case No. _________________________________
                                         Debtor                                                                                              (If known)


      SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                               (Continuation Sheet)


         CREDITOR’S NAME AND                                  DATE CLAIM WAS INCURRED,
           MAILING ADDRESS                                  AND CONSIDERATION FOR CLAIM.                                                 AMOUNT
          INCLUDING ZIP CODE                                    IF CLAIM IS SUBJECT TO                                                     OF
         AND ACCOUNT NUMBER                                        SETOFF, SO STATE.                                                      CLAIM
                   (See instructions.)




 ACCOUNT NO.




 ACCOUNT NO.




 ACCOUNT NO.




 ACCOUNT NO.




 ACCOUNT NO.




Sheet no. ___ of ___sheets attached to Schedule of                                                                   Subtotal '        $
Creditors Holding Unsecured Nonpriority Claims                                                            (Total of this page)
                                                                                                                         Total '       $
                                                                  (Use only on last page of the completed Schedule E.)
                                                                   (Report total also on Summary of Schedules)           (Report total also on Summary of Schedules)
B6G
(10/89)
            Case 08-03669             Doc 1      Filed 02/18/08 Entered 02/18/08 15:45:59                         Desc Main
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In re                     Wiejak, Teresa              ,                                  Case No.
                        Debtor                                                                               (if known)


             SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES

    Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare
interests.
    State nature of debtor’s interest in contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or lessee of a
lease.
    Provide the names and complete mailing addresses of all other parties to each lease or contract described.

    NOTE: A party listed on this schedule will not receive notice of the filing of this case unless the party is also scheduled in
the appropriate schedule of creditors.

 ✔
          Check this box if debtor has no executory contracts or unexpired leases.

                                                                               DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
           NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                         DEBTOR’S INTEREST. STATE WHETHER LEASE IS FOR
              OF OTHER PARTIES TO LEASE OR CONTRACT.                            NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                                    NUMBER OF ANY GOVERNMENT CONTRACT.
B6H
(6/90)
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In re                       Wiejak, Teresa                  ,                              Case No.
                       Debtor                                                                                   (if known)


                                                      SCHEDULE H - CODEBTORS
    Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by
debtor in the schedules of creditors. Include all guarantors and co-signers. In community property states, a married debtor not filing a joint case
should report the name and address of the nondebtor spouse on this schedule. Include all names used by the nondebtor spouse during the six years
immediately preceding the commencement of this case.

         Check this box if debtor has no codebtors.


                   NAME AND ADDRESS OF CODEBTOR                                          NAME AND ADDRESS OF CREDITOR



     Radoslaw Szymanski                                                         Harris Trust & Savings Bank
     5336 N. Dakin                                                              111 W. Monroe
     Chicago IL 60641                                                           PO 755
                                                                                Chicago IL 60690
                                                                                                                Amount Claimed: 1171.53
Form B6I
(12/03)
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In re                                                         ,                                   Case No.
                     Debtor                                                                                           (if known)


                 SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled “Spouse” must be completed in all cases filed by joint debtors and by a married debtor in a chapter 12 or 13 case whether or not
a joint petition is filed, unless the spouses are separated and a joint petition is not filed.


  Debtor’s Marital                                                       DEPENDENTS OF DEBTOR AND SPOUSE
  Status:
                                    RELATIONSHIP                                                                AGE
           Divorced                                                               none
  Employment:                                              DEBTOR                                    SPOUSE
  Occupation                  Social Security Disability

  Name of Employer
  How long employed
  Address of Employer



    Income: (Estimate of average monthly income)                                          DEBTOR                      SPOUSE
    Current monthly gross wages, salary, and commissions
        (pro rate if not paid monthly.)                                                   $ ____________
                                                                                            663.00                    $ ____________
    Estimated monthly overtime                                                            $ ____________              $ ____________

    SUBTOTAL                                                                              $__________                 $ _________
           LESS PAYROLL DEDUCTIONS
           a. Payroll taxes and social security                                           $ ____________              $ ____________
           b. Insurance                                                                   $ ____________              $ ____________
           c. Union dues                                                                  $ ____________              $ ____________
           d. Other (Specify: ______________________________________)                     $ ____________              $ ____________


           SUBTOTAL OF PAYROLL DEDUCTIONS                                                 $__________                $ __________
    TOTAL NET MONTHLY TAKE HOME PAY                                                       $__________                $ __________

    Regular income from operation of business or profession or farm                       $ ____________              $ ____________
    (attach detailed statement)
    Income from real property                                                             $ ____________              $ ____________
    Interest and dividends                                                                $ ____________              $ ____________
    Alimony, maintenance or support payments payable to the debtor for the
    debtor’s use or that of dependents listed above.                                      $ ____________              $ ____________
    Social security or other government assistance
    (Specify) __________________________________________________                          $ ____________              $ ____________
    Pension or retirement income                                                          $ ____________              $ ____________
    Other monthly income                                                                  $ ____________              $ ____________
    (Specify) _________________________________________________                           $ ____________              $ ____________
                _________________________________________________                         $ ____________              $ ____________

    TOTAL MONTHLY INCOME                                                                  $__________
                                                                                            663.00                    $ __________

    TOTAL COMBINED MONTHLY INCOME                                   $_________________        (Report also on Summary of Schedules)

Describe any increase or decrease of more than 10% in any of the above categories anticipated to occur within the year following the filing of
this document:
FORM B6J
(6/90)
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             In re                  Wiejak, Teresa                ,                                Case No.
                                 Debtor                                                                               (if known)


               SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
   Complete this schedule by estimating the average monthly expenses of the debtor and the debtor’s family. Pro rate any payments made bi-
weekly, quarterly, semi-annually, or annually to show monthly rate.

            Check this box if a joint petition is filed and debtor’s spouse maintains a separate household. Complete a separate schedule of
            expenditures labeled “Spouse.”

Rent or home mortgage payment (include lot rented for mobile home)                                                                    400.00
                                                                                                                                   $ _______________
Are real estate taxes included?       Yes ________              ✔
                                                          No ________
Is property insurance included?                 Yes ________           ✔
                                                                 No ________
Utilities      Electricity and heating fuel                                                                                           included in rent
                                                                                                                                   $ _______________
            Water and sewer                                                                                                        $ _______________
            Telephone                                                                                                                 75.00
                                                                                                                                   $ _______________
            Other ________________________________________________________________________                                         $ ______________
Home maintenance (repairs and upkeep)                                                                                              $ ______________
    Food                                                                                                                           $ ______________
Clothing                                                                                                                           $ ______________
Laundry and dry cleaning                                                                                                           $ ______________
Medical and dental expenses                                                                                                        $ ______________
Transportation (not including car payments)                                                                                        $ ______________
Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                   $ ______________
Charitable contributions                                                                                                           $ ______________
Insurance (not deducted from wages or included in home mortgage payments)
            Homeowner’s or renter’s                                                                                                $ ______________
            Life                                                                                                                   $ ______________
            Health                                                                                                                 $ ______________
            Auto                                                                                                                   $ ______________
            Other _______________________________________________________________________                                          $ ______________
Taxes (not deducted from wages or included in home mortgage payments)
(Specify) ______________________________________________________________________________                                           $ ______________
Installment payments: (In chapter 12 and 13 cases, do not list payments to be included in the plan)
            Auto                                                                                                                      200
                                                                                                                                   $ ______________
            Other _______________________________________________________________________                                          $ ______________
            Other _______________________________________________________________________                                          $ ______________
Alimony, maintenance, and support paid to others                                                                                   $ ______________
Payments for support of additional dependents not living at your home                                                              $ ______________
Regular expenses from operation of business, profession, or farm (attach detailed statement)                                       $ ______________
Other _________________________________________________________________________________                                            $ ______________
TOTAL MONTHLY EXPENSES (Report also on Summary of Schedules)                                                                         675.00
                                                                                                                                   $______________
[FOR CHAPTER 12 AND 13 DEBTORS ONLY]
Provide the information requested below, including whether plan payments are to be made bi-weekly, monthly, annually, or at some other
regular interval.
A. Total projected monthly income                                                                                                  $ ______________
B. Total projected monthly expenses                                                                                                $ ______________
C. Excess income (A minus B)                                                                                                       $ ______________
D. Total amount to be paid into plan each ________________________________________________________                                 $ ______________
                                                     (interval)
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(12/03)
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                                                  Wiejak, Teresa
        In re _________________________________________                                                   ,                                                   Case No. ______________________________
                         Debtor                                                                                                                                       (If known)




                                DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                                   DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


      I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of ______________________________________
                                                                                                                                                                    (Total shown on summary page plus 1.)
sheets, and that they are true and correct to the best of my knowledge, information, and belief.


Date __________________________________                                                                                 Signature: _______________________________________________
                                                                                                                                                          Debtor

Date __________________________________                                                                                 Signature:________________________________________________
                                                                                                                                                                    (Joint Debtor, if any)
                                                                                                                              [If joint case, both spouses must sign.]

 ----------------------------------------------------------------------------------------------------------------------------
------------------------
               CERTIFICATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

  I certify that I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110, that I prepared this document for compensation, and that I have provided the debtor with a
copy of this document.

_____________________________________________________                                                                   _____________________________
Printed or Typed Name of Bankruptcy Petition Preparer                                                                   Social Security No.
                                                                                                                        (Required by 11 U.S.C. § 110(c).)
_________________________________

_________________________________
Address

Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document:

If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.

X _____________________________________________________                                                                             ____________________
 Signature of Bankruptcy Petition Preparer                                                                                                 Date

A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or both. 11 U.S.C. §
110; 18 U.S.C. § 156.
 ----------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------

                      DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF A CORPORATION OR PARTNERSHIP


     I, the __________________________________ [the president or other officer or an authorized agent of the corporation or a member or an authorized agent of the
partnership ] of the ___________________________________ [corporation or partnership] named as debtor in this case, declare under penalty of perjury that I have
read the foregoing summary and schedules, consisting of _______________________________________________ sheets, and that they are true and correct to the
best of my knowledge, information, and belief.              (Total shown on summary page plus 1.)


Date ______________________________________                                                          Signature:________________________________________________________

                                                                                                                 _________________________________________________________
                                                                                                                        [Print or type name of individual signing on behalf of debtor.]

[An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]



Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
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Form 7
(12/03)
                                  FORM 7. STATEMENT OF FINANCIAL AFFAIRS

                               UNITED STATES BANKRUPTCY COURT
                         Northern
               ______________________________                     ILLINOIS
                                              DISTRICT OF ______________________________


                   Wiejak, Teresa
In re: ______________________________________,                           Case No. ___________________________________
                    (Name)                                                                          (if known)
                                         Debtor



                                   STATEMENT OF FINANCIAL AFFAIRS

          This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which
the information for both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish
information for both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
filed. An individual debtor engaged in business as a sole proprietor, partner, family farmer, or self-employed professional,
should provide the information requested on this statement concerning all such activities as well as the individual's personal
affairs.

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also
must complete Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If
additional space is needed for the answer to any question, use and attach a separate sheet properly identified with the case name,
case number (if known), and the number of the question.


                                                            DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An
individual debtor is "in business" for the purpose of this form if the debtor is or has been, within the six years immediately
preceding the filing of this bankruptcy case, any of the following: an officer, director, managing executive, or owner of 5 percent
or more of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole
proprietor or self-employed.

           "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and
their relatives; corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5
percent or more of the voting or equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of
such affiliates; any managing agent of the debtor. 11 U.S.C. § 101.

                                         _______________________________________

          1.    Income from employment or operation of business

None      State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of
          the debtor's business from the beginning of this calendar year to the date this case was commenced. State also the gross
          amounts received during the two years immediately preceding this calendar year. (A debtor that maintains, or has
          maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify
          the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse
          separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a
          joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                    AMOUNT                                                           SOURCE (if more than one)
                 663.00                                                       Social Security Disability (since April 2007 to present)
                 11461.00                                                     Adjusted Gross Income 2005
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                                                                                                                                  2

       2.   Income other than from employment or operation of business

None   State the amount of income received by the debtor other than from employment, trade, profession, or operation of the
✔      debtor's business during the two years immediately preceding the commencement of this case. Give particulars. If a
       joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13
       must state income for each spouse whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)

                 AMOUNT                                                                 SOURCE




________________________________________________________________________________________________

       3.   Payments to creditors

None   a.   List all payments on loans, installment purchases of goods or services, and other debts, aggregating more than
✔           $600 to any creditor, made within 90 days immediately preceding the commencement of this case. (Married
            debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a
            joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

       NAME AND ADDRESS OF CREDITOR                       DATES OF            AMOUNT              AMOUNT
                                                          PAYMENTS            PAID                STILL OWING




________________________________________________________________________________________________

None   b.   List all payments made within one year immediately preceding the commencement of this case to or for the
✔           benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include
            payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
            joint petition is not filed.)

       NAME AND ADDRESS OF CREDITOR                       DATE OF             AMOUNT              AMOUNT
       AND RELATIONSHIP TO DEBTOR                         PAYMENT             PAID                STILL OWING




________________________________________________________________________________________________

       4. Suits and administrative proceedings, executions, garnishments and attachments

None   a.   List all suits and administrative proceedings to which the debtor is or was a party within one year immediately
            preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include
            information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are
            separated and a joint petition is not filed.)

       CAPTION OF SUIT                                                        COURT OR AGENCY                STATUS OR
       AND CASE NUMBER               NATURE OF PROCEEDING                     AND LOCATION                   DISPOSITION

07M1156919                           Collection Law Suit                     Cook County                    Pending
                                                                             Chicago, IL
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                                                                                                                                   3

None   b.   Describe all property that has been attached, garnished or seized under any legal or equitable process within one
✔           year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter
            13 must include information concerning property of either or both spouses whether or not a joint petition is filed,
            unless the spouses are separated and a joint petition is not filed.)

       NAME AND ADDRESS                                                                            DESCRIPTION
       OF PERSON FOR WHOSE                                DATE OF                                  AND VALUE OF
       BENEFIT PROPERTY WAS SEIZED                        SEIZURE                                  PROPERTY




________________________________________________________________________________________________

       5.   Repossessions, foreclosures and returns

None   List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu
✔      of foreclosure or returned to the seller, within one year immediately preceding the commencement of this case.
       (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
       spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                     DATE OF REPOSSESSION,                         DESCRIPTION
       NAME AND ADDRESS                              FORECLOSURE SALE,                             AND VALUE OF
       OF CREDITOR OR SELLER                         TRANSFER OR RETURN                            PROPERTY




________________________________________________________________________________________________

       6.   Assignments and receiverships

None   a.   Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the
✔           commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment
            by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
            petition is not filed.)

                                                                                                   TERMS OF
       NAME AND ADDRESS                              DATE OF                                       ASSIGNMENT
       OF ASSIGNEE                                   ASSIGNMENT                                    OR SETTLEMENT




________________________________________________________________________________________________

None   b.   List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year
✔           immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13
            must include information concerning property of either or both spouses whether or not a joint petition is filed,
            unless the spouses are separated and a joint petition is not filed.)

                                          NAME AND LOCATION                                                  DESCRIPTION
       NAME AND ADDRESS                   OF COURT                                      DATE OF              AND VALUE OF
       OF CUSTODIAN                       CASE TITLE & NUMBER                           ORDER                PROPERTY
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              7.       Gifts

None          List all gifts or charitable contributions made within one year immediately preceding the commencement of this case
              except ordinary and usual gifts to family members aggregating less than $200 in value per individual family member
              and charitable contributions aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or
              chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed, unless
              the spouses are separated and a joint petition is not filed.)

              NAME AND ADDRESS                    RELATIONSHIP                                                       DESCRIPTION
              OF PERSON                           TO DEBTOR,                     DATE                                AND VALUE
              OR ORGANIZATION                     IF ANY                         OF GIFT                             OF GIFT




________________________________________________________________________________________________

              8.       Losses

None          List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement
 ✔            of this case or since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
              include losses by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
              joint petition is not filed.)

              DESCRIPTION                    DESCRIPTION OF CIRCUMSTANCES AND, IF
              AND VALUE OF                   LOSS WAS COVERED IN WHOLE OR IN PART                                    DATE OF
              PROPERTY                       BY INSURANCE, GIVE PARTICULARS                                          LOSS




________________________________________________________________________________________________

              9.       Payments related to debt counseling or bankruptcy

None          List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for
              consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy
              within one year immediately preceding the commencement of this case.

                                                            DATE OF PAYMENT,                    AMOUNT OF MONEY OR
              NAME AND ADDRESS                              NAME OF PAYOR IF                    DESCRIPTION AND VALUE
              OF PAYEE                                      OTHER THAN DEBTOR                   OF PROPERTY
James McGonnagle
3032 N Milwaukee Ave
Chicago IL 60618
                                                        October 2007                              800.00 (includes filling fee 299.99)



________________________________________________________________________________________________

              10. Other transfers

None          List all other property, other than property transferred in the ordinary course of the business or financial affairs of
 ✔            the debtor, transferred either absolutely or as security within one year immediately preceding the commencement of
              this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both spouses
              whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                                DESCRIBE PROPERTY
              NAME AND ADDRESS OF TRANSFEREE,                                                   TRANSFERRED
              RELATIONSHIP TO DEBTOR                                  DATE                      AND VALUE RECEIVED
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       11. Closed financial accounts

None   List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were
✔      closed, sold, or otherwise transferred within one year immediately preceding the commencement of this case. Include
       checking, savings, or other financial accounts, certificates of deposit, or other instruments; shares and share accounts
       held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial
       institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning accounts or
       instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are
       separated and a joint petition is not filed.)

                                          TYPE OF ACCOUNT, LAST FOUR                               AMOUNT AND
       NAME AND ADDRESS                   DIGITS OF ACCOUNT NUMBER,                                DATE OF SALE
       OF INSTITUTION                     AND AMOUNT OF FINAL BALANCE                              OR CLOSING




______________________________________________________________________________________________________

       12. Safe deposit boxes

None   List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables
✔      within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
       chapter 13 must include boxes or depositories of either or both spouses whether or not a joint petition is filed, unless
       the spouses are separated and a joint petition is not filed.)

       NAME AND ADDRESS                   NAMES AND ADDRESSES                 DESCRIPTION          DATE OF TRANSFER
       OF BANK OR                         OF THOSE WITH ACCESS                OF                   OR SURRENDER,
       OTHER DEPOSITORY                   TO BOX OR DEPOSITORY                CONTENTS             IF ANY




________________________________________________________________________________________________

       13. Setoffs

None   List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding
✔      the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information
       concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)

                                                                    DATE OF                   AMOUNT OF
       NAME AND ADDRESS OF CREDITOR                                 SETOFF                    SETOFF



 ________________________________________________________________________________________________

       14. Property held for another person

None   List all property owned by another person that the debtor holds or controls.
✔

          NAME AND ADDRESS                    DESCRIPTION AND VALUE
       OF OWNER                           OF PROPERTY                                    LOCATION OF PROPERTY



       15. Prior address of debtor
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                                                                                                                                    6


None     If the debtor has moved within the two years immediately preceding the commencement of this case, list all premises
✔        which the debtor occupied during that period and vacated prior to the commencement of this case. If a joint petition is
         filed, report also any separate address of either spouse.

         ADDRESS                                      NAME USED                           DATES OF OCCUPANCY




________________________________________________________________________________________________

         16. Spouses and Former Spouses

None     If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
✔        California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the six-
         year period immediately preceding the commencement of the case, identify the name of the debtor’s spouse and of
         any former spouse who resides or resided with the debtor in the community property state.

         NAME




________________________________________________________________________________________________

         17. Environmental Information.

         For the purpose of this question, the following definitions apply:

         "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination,
         releases of hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or
         other medium, including, but not limited to, statutes or regulations regulating the cleanup of these substances, wastes,
         or material.

              "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently
              or formerly owned or operated by the debtor, including, but not limited to, disposal sites.

            "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance,
            hazardous material, pollutant, or contaminant or similar term under an Environmental Law
________________________________________________________________________________________________

None     a.   List the name and address of every site for which the debtor has received notice in writing by a governmental
✔             unit that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the
              governmental unit, the date of the notice, and, if known, the Environmental Law:

         SITE NAME                NAME AND ADDRESS                            DATE OF     ENVIRONMENTAL
         AND ADDRESS              OF GOVERNMENTAL UNIT                        NOTICE      LAW


________________________________________________________________________________________________

None     b.   List the name and address of every site for which the debtor provided notice to a governmental unit of a release
✔             of Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

            SITE NAME                 NAME AND ADDRESS                           DATE OF   ENVIRONMENTAL
         AND ADDRESS              OF GOVERNMENTAL UNIT                        NOTICE    LAW
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                                                                                                                                      7

None      c.   List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with
✔              respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or
               was a party to the proceeding, and the docket number.

          NAME AND ADDRESS                          DOCKET NUMBER                         STATUS OR
          OF GOVERNMENTAL UNIT                                                            DISPOSITION


________________________________________________________________________________________________

          18 . Nature, location and name of business

None      a.   If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses,
✔              and beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or managing
               executive of a corporation, partnership, sole proprietorship, or was a self-employed professional within the six
               years immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of
               the voting or equity securities within the six years immediately preceding the commencement of this case.
                          If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the
                     businesses, and beginning and ending dates of all businesses in which the debtor was a partner or owned 5
                     percent or more of the voting or equity securities, within the six years immediately preceding the
                     commencement of this case.
                          If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the
                     businesses, and beginning and ending dates of all businesses in which the debtor was a partner or owned 5
                     percent or more of the voting or equity securities within the six years immediately preceding the
                     commencement of this case.


                         TAXPAYER                                                                   BEGINNING AND ENDING
          NAME           I.D. NO. (EIN)       ADDRESS               NATURE OF BUSINESS              DATES




________________________________________________________________________________________________

None      b.   Identify any business listed in response to subdivision a., above, that is "single asset real estate" as
✔              defined in 11 U.S.C. § 101.

               NAME                                      ADDRESS



________________________________________________________________________________________________

     The following questions are to be completed by every debtor that is a corporation or partnership and by any individual
debtor who is or has been, within the six years immediately preceding the commencement of this case, any of the following: an
officer, director, managing executive, or owner of more than 5 percent of the voting or equity securities of a corporation; a
partner, other than a limited partner, of a partnership; a sole proprietor or otherwise self-employed.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as
defined above, within the six years immediately preceding the commencement of this case. A debtor who has not been in
business within those six years should go directly to the signature page.)
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       19. Books, records and financial statements

None   a.   List all bookkeepers and accountants who within the two years immediately preceding the filing of this
✔           bankruptcy case kept or supervised the keeping of books of account and records of the debtor.

            NAME AND ADDRESS                                                            DATES SERVICES RENDERED



________________________________________________________________________________________________

None   b.   List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy
✔           case have audited the books of account and records, or prepared a financial statement of the debtor.

            NAME                                    ADDRESS                             DATES SERVICES RENDERED



________________________________________________________________________________________________

None   c.   List all firms or individuals who at the time of the commencement of this case were in possession of the
✔           books of account and records of the debtor. If any of the books of account and records are not available, explain.

            NAME                                                                        ADDRESS




________________________________________________________________________________________________

None   d.   List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a
✔           financial statement was issued within the two years immediately preceding the commencement of this case by the
            debtor.

       NAME AND ADDRESS                                                             DATE ISSUED




________________________________________________________________________________________________

       20. Inventories

None   a.   List the dates of the last two inventories taken of your property, the name of the person who supervised the
✔           taking of each inventory, and the dollar amount and basis of each inventory.

                                                                                    DOLLAR AMOUNT OF INVENTORY
       DATE OF INVENTORY               INVENTORY SUPERVISOR                  (Specify cost, market or other basis)



________________________________________________________________________________________________

None   b.   List the name and address of the person having possession of the records of each of the two inventories reported
✔           in a., above.

                                                                             NAME AND ADDRESSES OF CUSTODIAN
       DATE OF INVENTORY                                                 OF INVENTORY RECORDS
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                                                                                                                                 9

       21 . Current Partners, Officers, Directors and Shareholders

None   a.   If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the
✔           partnership.

            NAME AND ADDRESS                          NATURE OF INTEREST              PERCENTAGE OF INTEREST



________________________________________________________________________________________________

None   b.If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who
✔        directly or indirectly owns, controls, or holds 5 percent or more of the voting or equity securities of the
         corporation.
                                                                                          NATURE AND PERCENTAGE
       NAME AND ADDRESS                               TITLE                           OF STOCK OWNERSHIP




________________________________________________________________________________________________

       22 . Former partners, officers, directors and shareholders

None   a.   If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately
✔           preceding the commencement of this case.

            NAME                                           ADDRESS                        DATE OF WITHDRAWAL




________________________________________________________________________________________________

None   b.   If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated
✔           within one year immediately preceding the commencement of this case.

       NAME AND ADDRESS                               TITLE                           DATE OF TERMINATION



________________________________________________________________________________________________

       23 . Withdrawals from a partnership or distributions by a corporation

None   If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider,
✔      including compensation in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite
       during one year immediately preceding the commencement of this case.

       NAME & ADDRESS                                                           AMOUNT OF MONEY
       OF RECIPIENT,                            DATE AND PURPOSE                OR DESCRIPTION
       RELATIONSHIP TO DEBTOR                   OF WITHDRAWAL                   AND VALUE OF PROPERTY
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       24. Tax Consolidation Group.

None   If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any
✔      consolidated group for tax purposes of which the debtor has been a member at any time within the six-year period
       immediately preceding the commencement of the case.

       NAME OF PARENT CORPORATION                   TAXPAYER IDENTIFICATION NUMBER (EIN)



________________________________________________________________________________________________

       25. Pension Funds.

None   If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to
✔      which the debtor, as an employer, has been responsible for contributing at any time within the six-year period immediately
       preceding the commencement of the case.

       NAME OF PENSION FUND                    TAXPAYER IDENTIFICATION NUMBER (EIN)



________________________________________________________________________________________________




                                                        * * * * * *
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                                                                                                                                                              11

     [If completed by an individual or individual and spouse]

     I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any
     attachments thereto and that they are true and correct.


     Date __________________________                                     Signature _____________________________________________
                                                                         of Debtor

     Date __________________________                                     Signature_________________________________________
                                                                         of Joint Debtor
                                                                         (if any)



__________________________________________________________________________________________________________________________

     [If completed on behalf of a partnership or corporation]

     I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto and
     that they are true and correct to the best of my knowledge, information and belief.


     Date __________________________                                           Signature __________________________________________________

                                                                                           _________________________________________________
                                                                                           Print Name and Title


     [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]




                                                               ____ continuation sheets attached

                 Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. § 152 and 3571
-----------------------------------------------------------------------------------------------------------------------------------------------------------
            CERTIFICATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

   I certify that I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110, that I prepared this document for compensation, and that I have provided
the debtor with a copy of this document.

_____________________________________________________                                                    _____________________________
Printed or Typed Name of Bankruptcy Petition Preparer                                                    Social Security No.
                                                                                                         (Required by 11 U.S.C. § 110(c).)
_________________________________

_________________________________
Address

Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document:

If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.

X _____________________________________________________                                                             ____________________
 Signature of Bankruptcy Petition Preparer                                                                                   Date




A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in
fines or imprisonment or both. 18 U.S.C. § 156.
